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                                             COMMONWEALTH OF MASSACHUSETTS
                        SUFFOLK, SS.




                                     BE IT REMEMBERED, that at the Supreme Judicial Court holden at Boston
                        within and for said County of Suffolk, on                                                  November 24, 2014,

                        said Court being the highest Court of Record in said Commonwealth:



                                                                   Andres Rosso O'Laughlin


                      being found duly qualified in that behalf, and having taken and subscribed

                      the oaths required by law, was admitted to practice as an Attorney, and, by virtue

                      thereof, as a Counsellor at Law, in any of the Courts of the said Commonwealth:

                      that said Attorney is at present a member of the Bar, and is in good standing
                      according to the records of this Court*.

                                     In testimony whereof, I have hereunto set my hand and affixed the

                                                  seal of said Court, this eighth                                               day of             May
                                                                   in the year of our Lord two thousand and twenty-three.




                                                                                                                   MAURA S. DOYLE, Clerk




* Records of private discipline, if any, such as a private reprimand imposed by the Board of Bar Overseers or by any court, are not covered by this certification. X3116.

                                                          Amended January 2022, effective February 2022 for digital and/or electronic attestation for the Supreme Judicial Court for the County of Suffolk.
